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                               Nebraska Supreme Court Advance Sheets
                                        307 Nebraska Reports
                                              IN RE INTEREST OF SETH C.
                                                   Cite as 307 Neb. 862



                                        In re Interest of Seth C., a child
                                              under 18 years of age.
                                         State of Nebraska, appellee, v.
                                                Seth C., appellant.
                                                      ___ N.W.2d ___

                                          Filed November 20, 2020.   No. S-20-026.

                 1. Juvenile Courts: Appeal and Error. An appellate court reviews juve-
                    nile cases de novo on the record and reaches its conclusions indepen-
                    dently of the juvenile court’s findings.
                 2. Statutes: Appeal and Error. Statutory interpretation is a question of
                    law, which an appellate court resolves independently of the trial court.
                 3. Statutes: Legislature: Intent. In construing a statute, a court must
                    determine and give effect to the purpose and intent of the Legislature
                    as ascertained from the entire language of the statute considered in its
                    plain, ordinary, and popular sense.
                 4. Statutes. A court must give effect to all parts of a statute, and if it can
                    be avoided, no word, clause, or sentence will be rejected as superfluous
                    or meaningless.
                 5. Statutes: Legislature: Intent. Components of a series or collection of
                    statutes pertaining to a certain subject matter are in pari materia and
                    should be conjunctively considered and construed to determine the
                    intent of the Legislature, so that different provisions are consistent, har-
                    monious, and sensible.
                 6. Juvenile Courts: Minors. The foremost purpose and objective of
                    the Nebraska Juvenile Code is to promote and protect the juvenile’s
                    best interests.
                 7. ____: ____. The Nebraska Juvenile Code must be liberally construed to
                    serve the best interests of juveniles who fall within it.
                 8. Juvenile Courts: Restitution: Words and Phrases. The word “includ-
                    ing,” as used in Neb. Rev. Stat. § 43-286(1)(a) (Supp. 2017), introduces
                    examples, not an exhaustive list, and connotes that the provided list
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              Nebraska Supreme Court Advance Sheets
                       307 Nebraska Reports
                          IN RE INTEREST OF SETH C.
                               Cite as 307 Neb. 862
       of components is not exhaustive and that there are other items includ-
       able that are not specifically enumerated.
 9.    Juvenile Courts: Restitution. The Nebraska Juvenile Code shall be
       construed to offer selected juveniles the opportunity to take direct per-
       sonal responsibility for their individual actions by reconciling with the
       victims and fulfilling the terms of any resulting agreement which may
       require restitution and community service.
10.    ____: ____. Neb. Rev. Stat. § 43-286(1)(a) (Supp. 2017) contains a non-
       exhaustive list of what terms and conditions a juvenile court may order.
11.    Juvenile Courts. A juvenile court has broad discretion as to the disposi-
       tion of a delinquent child.
12.    ____. A juvenile court proceeding is not a prosecution for a crime, but a
       special proceeding that serves as an ameliorative alternative to a crimi-
       nal prosecution.
13.    Juvenile Courts: Restitution: Records. Strict rules of evidence do
       not apply at dispositional hearings in juvenile cases, but a court’s order
       imposing restitution must still be supported by the record.
14.    Juvenile Courts: Restitution. A restitution order imposed in an appro-
       priate manner serves the salutary purpose of making the offender under-
       stand that he or she has harmed not merely society in the abstract, but
       also individual human beings, and that he or she has a responsibility to
       the victim. This salutary purpose would be undermined by the imposi-
       tion of a restitution order that the juvenile is financially unable to pay.
15.    Juvenile Courts: Restitution: Proof. When a juvenile court enters an
       order of restitution, the court may use any rational method of fixing the
       amount of restitution, as long as the amount is rationally related to the
       proofs offered at the dispositional hearing, and the amount is consistent
       with the purposes of education, treatment, rehabilitation, and the juve-
       nile’s ability to pay.

  Appeal from the Separate Juvenile Court of Lancaster
County: Reggie L. Ryder, Judge. Affirmed.

  Joe Nigro, Lancaster County Public Defender, and Megan
Kielty for appellant.

      No appearance for appellee.

  Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
Papik, and Freudenberg, JJ.
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            Nebraska Supreme Court Advance Sheets
                     307 Nebraska Reports
                        IN RE INTEREST OF SETH C.
                             Cite as 307 Neb. 862
   Funke, J.
   Seth C. appeals an order of restitution entered by the sepa-
rate juvenile court after Seth admitted to an amended allega-
tion of disturbing the peace and quiet of another person. As a
term of probation, the juvenile court ordered Seth to pay $500
in restitution for the victim’s medical expenses. Seth argues
that the Nebraska Juvenile Code does not authorize a juvenile
court to order restitution for medical expenses incurred by a
victim. 1 We disagree and affirm the order of restitution for
medical expenses.

                        BACKGROUND
   On August 9, 2018, the State filed a juvenile petition in
the separate juvenile court of Lancaster County alleging that
Seth was a juvenile as defined under Neb. Rev. Stat. § 43-247(Reissue 2016) and further alleging that Seth had committed
conduct that would constitute assault in the third degree. Seth
denied the allegation in the petition.
   On October 4, 2018, the juvenile petition was amended by
interlineation to allege that Seth disturbed the peace and quiet
of another person. That same day, Seth entered an admission
to the amended petition. On October 16, the juvenile court
entered an order of adjudication finding Seth to be a juvenile
as defined by § 43-247(1), continuing his disposition to a later
date and ordering the preparation of a predisposition investiga-
tion report.
   According to police reports included with the predisposi-
tional report, Seth and the victim were occupants in different
vehicles involved in a road rage incident. Once both vehicles
came to a stop, Seth got out of his vehicle, went to the vic-
tim’s vehicle, and began punching the victim while the victim
was still sitting in his vehicle. The victim was punched four
to five times in the head before he got out of his vehicle and
confronted Seth. Seth claimed that it was a mutual fight and
1
    See Neb. Rev. Stat. § 43-286(1)(a)(i) (Supp. 2017).
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         Nebraska Supreme Court Advance Sheets
                  307 Nebraska Reports
                    IN RE INTEREST OF SETH C.
                         Cite as 307 Neb. 862
that the victim’s hand was injured when the victim punched
a concrete median.
   In June 2019, the juvenile court entered an “Agreement and
Order of Probation” placing Seth on probation and outlining
specific terms and conditions Seth was to complete. One of the
terms required Seth to “pay restitution as ordered.”
   On December 12, 2019, a restitution hearing was held where
evidence in the form of medical bills was received and testi-
mony from the victim’s mother was given. The medical bills
showed that the victim received treatment from a local hospi-
tal and that $3,330.96 was still due and owing. The victim’s
mother testified that though insurance paid for a portion of the
medical expenses, the remaining balance had not been paid.
Additionally, a victim impact statement was received which
indicated that the medical expenses stemmed from the injury
the victim sustained during the altercation with Seth.
   Seth testified that at the time of the hearing, he was 18 years
of age and would be turning 19 in January 2020. He further
testified that he was working approximately 40 hours per week
at a wage of $10 per hour, for a net income of $800 to $900 per
month. Seth also testified that he was living in an apartment
with his girlfriend and received no financial support from his
parents. He explained that he pays his own bills, which include
monthly expenses of $375 for rent, $60 for his phone, and
other costs for groceries and clothing.
   Because Seth was less than a month from turning 19 years
old and because of Seth’s current financial status, the court
acknowledged that it would be unrealistic to expect Seth to
pay the full amount of restitution, $3,330.96, in the time he
had remaining on probation. However, the court determined it
would be in Seth’s rehabilitative interests to make a good faith
effort to make the victim and his family whole. In response,
Seth argued that under § 43-286, the juvenile court was autho-
rized to order restitution for stolen or damaged property, but
was not authorized to order restitution for medical expenses
incurred as the result of physical damages (bodily injury).
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            Nebraska Supreme Court Advance Sheets
                     307 Nebraska Reports
                        IN RE INTEREST OF SETH C.
                             Cite as 307 Neb. 862
   In its order filed on December 13, 2019, the juvenile court
rejected Seth’s argument. The court stated that the “very nature
of the statute gives the court broad discretion as to what those
terms may be.” The court opined that the inclusion of the pro-
visions of restitution and community service programs in the
statute provides mere examples of what the court may order,
not the exclusive list of what the court is authorized to order.
The court ordered Seth to pay restitution to the victim in the
amount of $500, again noting that although Seth should be
required to pay the full amount of restitution, the circumstances
did not allow for it. Seth appeals.
                 ASSIGNMENTS OF ERROR
   Seth assigns, restated, renumbered, and consolidated, that
the juvenile court erred in finding that (1) an order of restitu-
tion for bodily injury was authorized by statute, (2) there was
sufficient evidence to support an order of restitution, and (3)
Seth had the ability to pay the ordered restitution.
                   STANDARD OF REVIEW
   [1,2] An appellate court reviews juvenile cases de novo on
the record and reaches its conclusions independently of the
juvenile court’s findings. 2 Statutory interpretation is a question
of law, which an appellate court resolves independently of the
trial court. 3
                          ANALYSIS
                     Statutory Authority
   In his first assignment of error, Seth asserts that the lan-
guage of § 43-286 authorizes a juvenile court to order res-
titution only for any property stolen or damaged and that as
such, the court lacked the requisite statutory authority to order
Seth to pay restitution for the medical expenses the victim
incurred. We recognize that as a statutorily created court of
2
    In re Interest of Octavio B. et al., 290 Neb. 589, 861 N.W.2d 415 (2015).
3
    In re Interest of Marcella G., 287 Neb. 566, 847 N.W.2d 276 (2014).
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             Nebraska Supreme Court Advance Sheets
                      307 Nebraska Reports
                         IN RE INTEREST OF SETH C.
                              Cite as 307 Neb. 862
limited and special jurisdiction, a juvenile court has only such
authority as has been conferred on it by statute. 4 But we dis-
agree that the statutes authorizing dispositions in juvenile cases
are as limited as Seth argues.
   [3-5] A court determines a statute’s meaning based on its
text, context, and structure. 5 In construing a statute, a court
must determine and give effect to the purpose and intent of
the Legislature as ascertained from the entire language of the
statute considered in its plain, ordinary, and popular sense. 6
A court must give effect to all parts of a statute, and if it can
be avoided, no word, clause, or sentence will be rejected as
superfluous or meaningless. 7 Components of a series or collec-
tion of statutes pertaining to a certain subject matter are in pari
materia and should be conjunctively considered and construed
to determine the intent of the Legislature, so that different pro-
visions are consistent, harmonious, and sensible. 8
   [6,7] As we have routinely said, the foremost purpose and
objective of the Nebraska Juvenile Code is to promote and
protect the juvenile’s best interests. 9 Additionally, the Nebraska
Juvenile Code must be liberally construed to serve the best
interests of juveniles who fall within it. 10
   Section 43-286, in relevant part, provides:
         (1) When any juvenile is adjudicated to be a juvenile
      described in subdivision (1), (2), or (4) of section 43-247:
         (a)(i) . . . The court may continue the dispositional por-
      tion of the hearing, from time to time upon such terms
 4
     See In re Interest of Donald B. &amp; Devin B., 304 Neb. 239, 933 N.W.2d 864     (2019).
 5
     Ash Grove Cement Co. v. Nebraska Dept. of Rev., 306 Neb. 947, 947
     N.W.2d 731 (2020).
 6
     Id. 7
     Id. 8
     First State Bank Neb. v. MP Nexlevel, ante p. 198, 948 N.W.2d 708     (2020).
 9
     In re Interest of Veronica H., 272 Neb. 370, 721 N.W.2d 651 (2006).
10
     See id. See, also, Neb. Rev. Stat. § 43-2,128 (Reissue 2016).
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             Nebraska Supreme Court Advance Sheets
                      307 Nebraska Reports
                        IN RE INTEREST OF SETH C.
                             Cite as 307 Neb. 862
      and conditions as the court may prescribe, including an
      order of restitution of any property stolen or damaged or
      an order requiring the juvenile to participate in commu-
      nity service programs, if such order is in the interest of
      the juvenile’s reformation or rehabilitation . . . .
   [8] Section 43-286(1)(a) uses the word “including” when it
lists what the court may order as part of the disposition. We
note that it is a widely accepted interpretation that the word
“including” introduces examples, not an exhaustive list. 11 In
fact, we have previously stated that the word “include,” as
used in a statute, connotes that the provided list of components
is not exhaustive and that there are other items includable that
are not specifically enumerated. 12 Thus, it is clear and consist­
ent with our jurisprudence that the word “including,” as used
in § 43-286(1)(a), connotes that the provided list of terms
and conditions that the court may order is not exhaustive and
that there may be other terms and conditions that are includ-
able but not specifically enumerated in the statute. In other
words, § 43-286(1)(a) does not limit the types of restitution a
juvenile court may order to only restitution for property stolen
or damaged.
   [9] Further, Neb. Rev. Stat. § 43-246(3) (Reissue 2016)
provides that the Nebraska Juvenile Code shall be construed
to reduce the possibility of juveniles committing future
law ­violations through the provision of social and rehabili-
tative serv­ices to such juveniles. Additionally, according to
§ 43-246(4), the Nebraska Juvenile Code shall be construed to
offer selected juveniles the opportunity to take direct personal
responsibility for their individual actions by reconciling with
the victims and fulfilling the terms of any resulting agreement
which may require restitution and community service.
11
     Antonin Scalia &amp; Bryan A. Garner, Reading Law: The Interpretation of
     Legal Texts 132 (2012).
12
     State v. Jedlicka, 305 Neb. 52, 938 N.W.2d 854 (2020). See Stephens v.
     Stephens, 297 Neb. 188, 899 N.W.2d 582 (2017).
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             Nebraska Supreme Court Advance Sheets
                      307 Nebraska Reports
                        IN RE INTEREST OF SETH C.
                             Cite as 307 Neb. 862
   Because §§ 43-246(3) and (4) and 43-286(1)(a) all relate to
the juvenile code, § 43-286(1)(a) must be construed so as to
maintain a sensible and consistent scheme with § 43-246(3)
and (4). We believe it is consistent with the language of
§ 43-246(3), which makes reference to reducing the possibil-
ity of the juvenile’s committing additional law violations, and
§ 43-246(4), which makes reference to requiring juveniles to
make amends in various ways, including paying restitution,
to interpret the reference to restitution for stolen or damaged
property as merely one example of an offense for which the
juvenile court could order restitution.
   [10] As a result, we conclude that § 43-286(1)(a) contains
a nonexhaustive list of what terms and conditions a juvenile
court may order when continuing disposition and that statuto-
rily, the court was authorized to order Seth to pay restitution
for medical expenses. However, we must also consider whether
ordering restitution was in the interest of Seth’s reformation
and rehabilitation.
   [11,12] As we previously indicated, § 43-286(1)(a) allows a
juvenile court to prescribe certain terms and conditions as long
as it is in the interest of the juvenile’s reformation or rehabili-
tation. Additionally, a juvenile court has broad discretion as to
the disposition of a delinquent child. 13 We have long recog-
nized that a juvenile court proceeding is not a prosecution for
a crime, but a special proceeding that serves as an ameliorative
alternative to a criminal prosecution. 14
   When liberally construing the Nebraska Juvenile Code, we
conclude that requiring Seth to pay restitution for the victim’s
medical bills is essential for Seth’s reformation and rehabilita-
tion, because it gives Seth the opportunity to take direct per-
sonal responsibility for his actions.
   Seth’s first assignment of error is without merit.
13
     See In re Interest of J.M., 223 Neb. 609, 391 N.W.2d 146 (1986).
14
     In re Interest of Brandon M., 273 Neb. 47, 727 N.W.2d 230 (2007).
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           Nebraska Supreme Court Advance Sheets
                    307 Nebraska Reports
                    IN RE INTEREST OF SETH C.
                         Cite as 307 Neb. 862
                    Sufficiency of Evidence
   Seth’s second assignment of error contends that even if the
juvenile court has the statutory authority to order restitution for
medical expenses, the State presented insufficient evidence to
support the award of restitution. In particular, Seth argues that
there was insufficient evidence to find that the victim’s injuries
were caused by Seth and that $500 was the appropriate amount
of restitution.
   Seth is correct that there is evidence in the record that the
victim’s injuries may have occurred when the victim struck a
concrete median during the incident. Nonetheless, we conclude
that the State presented sufficient evidence to prove the vic-
tim’s physical injuries were caused by Seth.
   It is undisputed that Seth admitted to the allegation of dis-
turbing the peace and quiet of another person stemming from
the altercation with the victim. It is also undisputed that Seth
was the initial physical aggressor in the incident, because the
police reports show that Seth got out of his vehicle, walked over
to the victim’s vehicle, and began punching the victim. Seth
struck the victim four to five times before the victim got out
of his vehicle and took Seth to the ground. As such, the record
supports that the victim’s injuries were caused by Seth.
   As to the amount of the medical damages, Seth points to the
fact that the medical bills do not indicate or list the victim’s
injuries and that the only details regarding how the victim sus-
tained the injuries, and the type of injuries the victim suffered,
are found in the victim impact statement, which was filled
out by the victim’s mother. Seth argues that the victim impact
statement is hearsay and therefore not admissible evidence to
be considered by the court.
   [13] According to Neb. Rev. Stat. § 43-283 (Reissue 2016),
strict rules of evidence do not apply at dispositional hear-
ings. As such, Seth’s hearsay argument lacks merit. However,
we have said that despite § 43-283, a court’s order imposing
restitution must still be supported by the record. 15
15
     Id.
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             Nebraska Supreme Court Advance Sheets
                      307 Nebraska Reports
                         IN RE INTEREST OF SETH C.
                              Cite as 307 Neb. 862
   Here, the juvenile petition alleged that the incident occurred
on April 10, 2018; the medical bills indicate that the victim
received treatment that same day; and the victim’s mother
testified that $3,330.96 of the medical bills remains outstand-
ing. Additionally, despite the evidence as to the unpaid portion
of the medical bills, the court ordered Seth to pay restitution
only in the amount of $500. Therefore, we conclude that on
the record before us, there is sufficient evidence to support
the amount of restitution which Seth was required to pay to
the victim.
   Seth’s second assignment of error has no merit.

                  Ability to Pay Restitution
   Seth’s third assignment of error is that the juvenile court
erred in finding he had the ability to pay the $500 in restitution.
   [14] We have previously stated that a restitution order
“‘imposed . . . in an appropriate manner serves the salutary
purpose of making the offender understand that he has harmed
not merely society in the abstract but also individual human
beings, and that he has a responsibility to’ the victim.” 16 We
have also recognized that this “salutary purpose” would be
undermined by the imposition of a restitution order that the
juvenile is financially unable to pay. 17
   [15] In In re Interest of Laurance S., 18 we noted that
§ 43-286(1)(a) does not prescribe any particular method by
which to determine whether restitution is appropriate or the
amount of restitution to be awarded. We further noted that
when a juvenile court enters an order of restitution, the court
should consider, among other factors, the juvenile’s earning
16
     In re Interest of Laurance S., 274 Neb. 620, 625, 742 N.W.2d 484, 489
     (2007) (quoting In re Brian S., 130 Cal. App. 3d 523, 181 Cal. Rptr. 778     (1982)).
17
     In re Interest of Laurance S., supra note 14.
18
     Id.
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           Nebraska Supreme Court Advance Sheets
                    307 Nebraska Reports
                   IN RE INTEREST OF SETH C.
                        Cite as 307 Neb. 862
ability, employment status, financial resources, and other obli-
gations. 19 Ultimately, we concluded that juvenile courts may
use any rational method of fixing the amount of restitution, as
long as the amount is rationally related to the proofs offered at
the dispositional hearing, and the amount is consistent with the
purposes of education, treatment, rehabilitation, and the juve-
nile’s ability to pay. 20
   At the restitution hearing in this matter, Seth testified that
he works around 40 hours per week, earns around $800 to
$900 per month (after taxes), and pays approximately $435 in
various bills. The order of restitution was filed on December
13, 2019, and because Seth would reach the age of majority in
January 2020, the court ordered him to pay $500 by that date.
Seth contends that the court was essentially asking him to pay
an amount more than he could afford, thus undermining the
salutary purpose of restitution.
   In the original order of probation, the court ordered Seth to
pay restitution in an amount to be determined. At the December
2019 hearing, evidence substantiated the total amount of resti-
tution to be $3,330.96. Based upon the short time Seth could
remain on probation, the court reduced the amount of resti-
tution to $500. Additionally, the evidence showed that after
paying his monthly expenses, Seth had approximately $500
to $600 of disposable income remaining each month. As such,
the court took into consideration the fact that Seth would not
be able to pay the full amount of restitution of $3,330.96 and
reduced the restitution to an amount Seth would be able to
pay. Therefore, we conclude that the juvenile court ordered
restitution in an amount rationally related to the proofs offered
at the dispositional hearing and that the amount was consist­
ent with the purposes of education, treatment, rehabilitation,
and the juvenile’s ability to pay. As such, the court did not
19
     Id.20
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         Nebraska Supreme Court Advance Sheets
                  307 Nebraska Reports
                    IN RE INTEREST OF SETH C.
                         Cite as 307 Neb. 862
violate the salutary purpose of ordering Seth to pay restitution
in the amount of $500.
   Seth’s third assignment of error has no merit.

                         CONCLUSION
   We conclude that the language of § 43-286(1)(a) contem-
plates a nonexhaustive list of examples of terms and conditions
that a juvenile court may order, and thus the juvenile court had
the authority to order restitution for medical expenses as long
as such order was in the interest of the juvenile’s reformation
or rehabilitation. We find there was sufficient evidence in the
record to support a finding that Seth caused the victim’s inju-
ries and to support the amount of restitution ordered, that Seth
had the ability to pay the $500 in restitution, and that the order
to pay such restitution was made in the interest of Seth’s refor-
mation and rehabilitation. Accordingly, we affirm the order of
the juvenile court.
                                                     Affirmed.
